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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI DIVISION


   PDVSA US LITIGATION TRUST,

              Plaintiff,

         v.                                       No. 1:18-cv-20818 (DPG)

   LUKOIL PAN AMERICAS LLC, et al.,

              Defendants.




    MEMORANDUM OF DEFENDANTS GLENCORE LTD., GLENCORE ENERGY UK
     LTD., AND GUSTAVO GABALDON IN OPPOSITION TO THE CONTINUATION
                 OF THE MARCH 16, 2018 PRESERVATION ORDER




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                                   PRELIMINARY STATEMENT

                  Defendants Glencore Ltd., Glencore Energy UK Ltd., and Gustavo Gabaldon

   (together, “Glencore Defendants”) respectfully submit this memorandum to dissolve the March

   16, 2018 temporary restraining order requiring the Glencore Defendants, along with many other

   Defendants, “to preserve evidence” (ECF No. 95) (the “Preservation Order”) and in opposition to

   Plaintiff’s March 3, 2018 motion for a preliminary injunction (ECF No. 5).1

                  The Glencore Defendants have been preserving, and will continue to preserve,

   documents relating to this lawsuit consistent with their legal obligations, which they are well

   aware of and take seriously. Not only is an order requiring the preservation of documents

   therefore unnecessary as to the Glencore Defendants, Plaintiff has made no showing whatsoever

   that such an extraordinary remedy is warranted here with respect to these Defendants. And even

   if it had, the Preservation Order is overbroad (extending preservation requirements beyond the

   subject matter of this action). Accordingly, Plaintiff's request for an extension of the

   Preservation Order as to the Glencore Defendants should be denied.

                                            BACKGROUND

                  On March 3, 2018, counsel for Plaintiff PDVSA US Litigation Trust—an entity,

   according to its filings, purportedly created in July 2017 to bring claims on behalf of the

   Venezuelan state-owned oil company, Petróleos de Venezuela, S.A. (“PDVSA”)—filed its

   complaint (ECF No. 1), which was then amended on March 5, 2018 (ECF No. 12) (the

   “Complaint”). The Complaint asserts a host of claims related to the purchase and sale of oil-

   related products by PDVSA, one of the world’s largest oil producers, by international oil

   1
       This opposition is filed solely on behalf of Glencore Ltd., Glencore Energy UK Ltd., and Mr.
       Gabaldon. By submitting this opposition, no party intends to waive, and each expressly
       preserves, any and all defenses under Federal Rule of Civil Procedure 12, including
       objections to service of process and personal jurisdiction. See Pouyeh v. Pub. Health Tr. of
       Jackson Health Sys., No. 17-12748, 2017 WL 5592268 (11th Cir. Nov. 21, 2017).

                                                    2
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   companies and traders, banks, and purportedly corrupt agents and intermediaries. Despite the

   Complaint’s length—spanning 321 paragraphs, 164 pages, and 19 claims—Plaintiff’s specific

   allegations against the Glencore Defendants are nearly non-existent. Aside from a single

   document from 2005 annexed to the Complaint, the Glencore Defendants are referred to only as

   part of an undifferentiated mass of “Oil Company Conspirators” or “Individual Trader

   Conspirators” whose conduct is described in the aggregate without any detail as to the Glencore

   Defendants.

                  Plaintiff followed the filing of its Complaint with serial “emergency” motions

   seeking extraordinary, expedited, and ex parte relief. These filings sound dire warnings

   regarding the likelihood that some Defendants may destroy evidence or act inappropriately and

   seek a host of remedies including the freezing of bank accounts and seizing of data and

   information.

                  To be clear, the only aspects of Plaintiff’s motions directed at the Glencore

   Defendants relate to the preservation of documents, and Plaintiff’s filings lack any allegation—

   let alone any evidence—that any Glencore Defendant has destroyed, has a history of destroying,

   or intends to destroy, any document or evidence that could support Plaintiff’s allegations.2

   Indeed, none of the Glencore Defendants was even mentioned during the approximately hour-

   and-a-half-long appearance in which Plaintiff made this unusual application.

                  On March 16, 2018, in response to Plaintiff's motion, the Court issued its

   Preservation Order, which requires almost all Defendants to preserve any documents relating to

   2
       Neither the Complaint, nor Plaintiff’s Ex Parte Motion for a Temporary Restraining Order
       and Preliminary Injunction and Delayed Service (ECF No. 5), nor Plaintiff’s Emergency
       Motion for Enforcement of Court’s Temporary Restraining Order (ECF No. 60), nor
       Plaintiff’s Ex Parte Motion for Authorization for Alternate Service (ECF No. 72), nor
       Plaintiff’s oral presentation on March 14, 2018 (ECF No. 103) contains a single concrete
       allegation that the Glencore Defendants have discarded, or may discard, any potentially
       relevant documents.

                                                    3
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   PDVSA. The Preservation Order noted that the Court may revisit the order during the April 4,

   2018 hearing on Plaintiff’s motion for a preliminary injunction.

                                              ARGUMENT

                  Continuation of the Preservation Order as to the Glencore Defendants is

   unnecessary and inappropriate for several reasons.

                  First, the Glencore Defendants are well aware of their obligations to preserve

   relevant evidence. Upon receiving notice of the instant litigation, the Glencore Defendants took

   swift action to preserve potentially relevant evidence in the possession of relevant employees and

   business lines. The law requires no more. See, e.g., Oliver v. County of Chatham, No. CV417-

   101, 2018 WL 1221904, at *4 (S.D. Ga. Mar. 8, 2018) (“[T]he Court should deny [plaintiff’s]

   motion for a Temporary Restraining Order . . . prohibiting defendants from spoliating evidence

   because Defendants and their counsel have an independent obligation to preserve evidence.”);

   Robinson v. Gielow, No. 3:14cv223, 2015 WL 4459880, at *4 (N.D. Fla. July 21, 2015)

   (“Defendants are aware of their duty to preserve evidence. . . . A preservation order is not

   required.”); Doe v. Dominique, No. 1:13-CV-04270, 2014 WL 12115948, at *4 (N.D. Ga. Jan. 3,

   2014) (“[T]he Court declines to enter an Order repeating the requirements already incumbent

   upon all Parties to a lawsuit in federal court.”). As one court put it, “[o]rdering parties to act in a

   way that they already are ethically constrained to act serves neither judicial economy nor the

   public interest.” Levitan v. Mary Ann Patti, LLC, No. 3:09-cv-321, 2010 WL 323060, at *2

   (N.D. Fla. Jan. 15, 2010). Indeed, the Court may have already reached this conclusion, given

   that it did not include within the scope of the Preservation Order those Defendants who appeared

   at the March 14, 2018 hearing and assured the Court that they are aware of their preservation

   obligations. (March 14 Hr’g Tr. 45:13–18.)



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                     Second, Plaintiff has not met its burden justifying the entry of a Preservation

   Order as to the Glencore Defendants in any event. Despite Plaintiff’s serial ex parte filings and

   two hearings before the Court, Plaintiff has not made a single allegation, let alone presented any

   evidence, suggesting that any Glencore Defendant has destroyed, or intends to destroy, any

   potentially relevant documents. Plaintiff’s request for a preservation order is an extraordinary

   remedy, Disney Enters., Inc. v. Hotfile Corp., No. 11-20427-CIV, 2011 WL 13100321, at *2

   (S.D. Fla. Apr. 19, 2011), and it is axiomatic that “at the very least some evidence should be

   offered to justify such an extreme remedy” as a preservation order, Hester v. Bayer Corp., 206

   F.R.D. 683, 686 (M.D. Ala. 2001). Plaintiff has offered no such support here with respect to the

   Glencore Defendants. The Preservation Order should be dissolved and not continued for this

   reason as well.

                     Finally, even if the Court were inclined to enter a preservation order here despite

   the defects identified above, the current Preservation Order is overbroad, requiring retention of

   “all records, documents, communications or notes, either electronic or hard copy” relating to

   PDVSA and other parties, without limitation to the date those documents were created, the

   subject matter of the documents, or their potential relevance to this case. In the event the Court

   seeks to impose a preservation obligation on the Glencore Defendants beyond those already

   imposed on all litigants under federal law and applicable ethics rules, we respectfully submit that

   Plaintiff should be required to submit an order narrowly tailored to the issues relevant to this

   litigation.3 Further, any such order should apply equally to all parties—including PDVSA (on


   3
       The Preservation Order imposes a duty to preserve documents and records related to all
       business the Glencore Defendants have ever conducted with PDVSA, which has been a
       significant participant in the vast international oil market for decades, as well the sixteen
       entities and individuals that comprise the so-called “Morillo Group Defendants.” To the
       extent this Court imposes additional preservation obligations, they should be tailored to the
       time period, primary parties, and specific products and types of contracts relevant to the
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   whose behalf the Plaintiff purports to act) and any other undisclosed persons or entities Plaintiff

   purports to represent or that have an interest in the Plaintiff. 4

                                              CONCLUSION

                   Plaintiff seeks extraordinary relief but has failed to make the extraordinary

   showing—indeed, any showing—necessary to justify that relief against the Glencore Defendants.

   Plaintiff’s tone and adjectives are no substitute for the concrete showing required to support a

   preliminary injunction ordering the Glencore Defendants to do that which they are already

   obliged to under the law. In the absence of such a showing, and in light of the fact that the

   Glencore Defendants are mindful of their obligations to preserve relevant evidence, the

   extraordinary ex parte relief afforded to Plaintiff should not be extended.




       Complaint. See Ala. Aircraft Indus., Inc. v. Boeing Co., 319 F.R.D. 730, 740–41 (N.D. Ala.
       2017) (“[A] corporation . . . is not required to keep every shred of paper . . . or electronic
       document . . . . In essence, the duty to preserve evidence extends to those employees likely
       to have relevant information—the key players in the case, and applies to unique, relevant
       evidence that might be useful to the adversary.” (citation omitted)).
   4
       Given the lack of meaningful allegations in the Complaint relating to Plaintiff, its purported
       ownership and control, its purported beneficiaries, and its legal authority to even bring this
       case, it is unclear what entities or individuals may have an interest in Plaintiff and whether
       Plaintiff actually has any right to act on behalf of PDVSA. Further, we note that the
       Complaint contains numerous allegations of document destruction at PDVSA itself (see, e.g.,
       Compl. ¶ 89), which naturally raise concerns about Plaintiff’s ability to comply with its own
       discovery obligations.

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   Dated: March 26, 2018

                                     Respectfully submitted,


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                                                      CERTIFICATE OF SERVICE



              I HEREBY CERTIFY that a true and correct copy of the foregoing Memorandum of

   Defendants Glencore Ltd., Glencore Energy UK Ltd., and Gustavo Gabaldon in Opposition to

   the Continuation of the March 16, 2018 Preservation Order was served by CM/ECF on this 26th

   day of March, 2018 on all counsel or parties of record on the service list.

                                                                                                  /s/Stephen F. Rosenthal
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